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  From:          James Kolenich
  To:            Yotam Barkai; Seguin L. Strohmeier; Christopher Greene
  Subject:       TWP and Matt Parrott responses
  Date:          Wednesday, April 18, 2018 10:46:52 PM
  Attachments:   TWP.pdf
                 Parrottdocproduction.pdf
                 Parrottresponses.pdf


  Please find attached discovery responses from Traditionalist Worker Party and from
  Matt Parrott. Each defendant provides responses as highly confidential pursuant to
  the confidentiality agreement governing this case.

  Jim

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